         Case 3:18-cv-00736-JWD-EWD                      Document 21          05/22/19 Page 1 of 6



                                 UNITED STATES DISTRICT COURT

                                 MIDDLE DISTRICT OF LOUISIANA

BRIAN MCNEAL                                               :          CIVIL ACTION

                                                           :          NO. 18-736-JWD-EWD
VERSUS
                               :                                      JUDGE JOHN W. deGRAVELLES
LOUISIANA DEPARTMENT OF PUBLIC
SAFETY & CORRECTIONS, ET AL    :              MAGISTRATE JUDGE
                                              ERIN WILDER-DOOMES
******************************************************************************
   MEMORANDUM IN OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY
                                 JUDGMENT
MAY IT PLEASE THE COURT:

         The non-moving party, the Louisiana Department of Public Safety & Corrections

(“DPS&C”), urges this Honorable Court to deny Brian McNeal’s Motion for Summary Judgment¸

record document 12, because (1) his state law false imprisonment claims are barred by the United

States Supreme Court case Heck v. Humphrey, and (2) Plaintiff failed to exhaust his administrative

remedies prior to filing suit, as required by the Louisiana Prison Litigation Reform Act (“La

PLRA”).

    I.   ISSUE BEFORE THE COURT

         Plaintiff brings federal and state law claims against the defendants. 1 In the instant Motion

for Summary Judgment, however, only the liability aspect of Plaintiff’s state law claims for false

imprisonment is before the Court.2 For the reasons discussed further below, and in the defendants’

own Motion for Summary Judgment,3 Plaintiff’s motion should be denied.


1
  R. Doc. 1-2.
2
  See R. Doc. 12-1.
3
  R. Doc. 17. Plaintiff does not appear to request summary judgment on the issue of damages, and offers no briefing,
no statements of fact, and no argument for pertaining to the issue of damages. As such, defendants respectfully assert
that, should summary judgment be granted on Plaintiff’s false imprisonment claim, the issue of damages remains for
trial.

                                                          1
          Case 3:18-cv-00736-JWD-EWD                    Document 21          05/22/19 Page 2 of 6




    II.   ANALYSIS

             1. Plaintiff is not entitled to summary judgment because his claims are barred by
                Heck v. Humphrey and its progeny

          As an initial matter, the defendants submit that Plaintiff’s §1983 claims are barred by the

United States Supreme Court case Heck v. Humphrey, which bars judgments that “would

necessarily imply the invalidity” of an offenders conviction or sentence without prior invalidation.4

This principle includes any §1983 action wherein success in favor of the plaintiff would

“necessarily demonstrate the invalidity of confinement or duration.”5

          In the interest of brevity, defendants refer principally to their original Memorandum in

Support of Second Motion for Summary Judgment, which outlines the reasons why Plaintiff’s state

law claims are barred by Heck.6 However, defendants do note that Plaintiff does nothing in the

instant motion to address the chief principle surrounding Heck - that a §1983 action is not the

mechanism in which to challenge the nature and duration of a prisoner’s confinement.7 As alleged

in his original Petition,8 Plaintiff argues in the instant motion that he was illegally held 41 days

past his release date.9 As such, Plaintiff is inherently challenging the nature and duration of his

confinement, and Heck applies unless Plaintiff can show that the nature and duration of his

confinement “has been reversed on direct appeal, expunged by executive order, declared invalid

by a state tribunal, or called into question by a federal court’s issuance of a writ of habeas




4
  512 U.S. 477 (1994).
5
  Wilkinson v. Dotson, 544 U.S. 74, 81-82 (2005).
6
  R. Doc. 57-1, pp. 8-11.
7
  See Wilkinson, 544 U.S. at 78 (“This Court has held that a prisoner in state custody cannot use a §1983 action to
challenge ‘the fact or duration of his confinement.’ He must seek federal habeas corpus relief (or appropriate state
relief) instead.”)(internal citations omitted).
8
  R. Doc. 1-2, ¶42.
9
  R. Doc. 12-1, p. 1.

                                                         2
         Case 3:18-cv-00736-JWD-EWD                    Document 21          05/22/19 Page 3 of 6



corpus.”10 Pertinent to the instant motion, the principles of Heck are equally applicable to

Plaintiff’s state law false arrest claim.11

        Here, the record before the Court demonstrates that Plaintiff makes no effort to show that

he has previously invalidated the nature or duration of his confinement. Because Plaintiff has failed

to demonstrate or allege that the nature and duration of his confinement has been previously

invalidated, his §1983 claims are barred, and his motion should be denied on this basis alone.

             2. Plaintiff is not Entitled to Summary Judgment Because he has Failed to
                Exhaust his Administrative Remedies

                          Louisiana Law Required Plaintiff to Exhaust his Administrative Remedies
                          Prior to Filing the Instant Suit

        Louisiana Revised Statute §15:1184(A)(2) provides:

        No prisoner suit shall assert a claim under state law until such administrative
        remedies as are available are exhausted. If a prisoner suit is filed in contravention
        of this Paragraph, the court shall dismiss the suit without prejudice.

Defendants note that the instant case is a “prisoner suit” governed by the La PLRA. La. R.S.

§15:1181(2) expressly provides:


        “civil action with respect to prison conditions” or “prisoner suit” means any civil
        proceeding with respect to the conditions of confinement or the effects of actions
        by government officials on the lives of persons confined in prison, but does not
        include post-conviction relief or habeas corpus proceedings challenging the fact or
        duration of confinement in prison.”


10
  See Heck, 512 U.S. at 486-487.
11
   See Thomas v. Louisiana, 406 Fed. Appx. 890, 897-898 (5th Cir. 2010)(“[T]he favorable termination rule bars
[plaintiff’s] state law false imprisonment and false arrest claims.”); Thomas v. Pohlmann, 681 Fed. Appx. 401, 408-
409 (5th Cir. 2017)(applying the Heck analysis to state law claims); See also Williams v. Harding, 2012-1595, pp. 7-
8 (La. App. 1 Cir. 04/26/13), 117 So. 3d 187, 191 (“our review of Louisiana case law reveals that the Heck rationale
is equally applicable to [Plaintiff’s] state law claims…that necessarily attack the validity of his underlying
convictions.”)(citing cases); Aucoin v. Cupil, 2018 U.S. Dist. LEXIS 204665, *6 fn 8 (M.D. La. 12/4/2018)(citing
cases), rev’d on other grounds, 2019 U.S. Dist. LEXIS 69068 (M.D. La. 4/22/2019).



                                                         3
            Case 3:18-cv-00736-JWD-EWD             Document 21       05/22/19 Page 4 of 6



Plaintiff’s claims clearly fit this definition, as he asserts that the defendants illegally held him past

his release date. As such, this case is a “prisoner suit” under the meaning of the La PLRA.

           There is also no doubt that Plaintiff is a “prisoner” under the meaning of the La PLRA.

Louisiana Revised Statute §15:1181(6) expressly defines a “prisoner” as “any person subject to

incarceration, detention, or admission to any prison who is accused of, convicted of, sentenced for,

or adjudicated delinquent for a violation of criminal law or the terms or conditions of parole,

probation, pretrial release, or a diversionary program.” Plaintiff meets this criteria, as he was

housed at EHCC during the events giving rise to this litigation, and in the custody of the DPS&C.

Furthermore, Louisiana Revised Statute §15:1181(6) provides that “[s]tatus as a ‘prisoner’ is

determined as of the time the cause of action arises. Subsequent events, including post trial judicial

action or release from custody, shall not affect such status.” (emphasis added). As all of Plaintiff’s

state law causes of action brought in this lawsuit undisputedly arose during his incarceration at

EHCC, Plaintiff is a “prisoner” for purposes of the La PLRA, and was required to exhaust

administrative remedies prior to filing the instant suit.

                           Plaintiff has Failed to Exhaust Administrative Remedies

           As discussed in defendants’ own Motion for Summary Judgment, Plaintiff failed to exhaust

his administrative remedies as require by the La PLRA. In his responses to interrogatories, Plaintiff

admits that he “does not recall filing any Administrative Remedy Procedures pertaining to his

overdetention. Any such information would be in the possession of defendants.”12 Additionally,

the summary judgment evidence demonstrates that DPS&C could not locate any Administrative

Remedy Procedures filed by Plaintiff as of June 29, 2018 (nine days after the filing of this lawsuit

in Louisiana state court).13 As such, there is no indication that Plaintiff initiated the ARP procedure,


12
     R. Doc. 17-3, p. 9.
13
     R. Doc. 17-4.

                                                    4
            Case 3:18-cv-00736-JWD-EWD               Document 21      05/22/19 Page 5 of 6



nor that he exhausted all steps as required by law. Finally, there is no indication that Plaintiff

exhausted all steps prior to the filing of the instant lawsuit, which is required by the La PLRA.14

           Because Plaintiff failed to exhaust his administrative remedies as required by Louisiana,

he is not entitled to summary judgment on his state law false imprisonment claim.

III.       CONCLUSION

           For the reasons above and the reasons discussed more fully in the defendant’s own Motion

for Summary Judgment, the summary judgment record currently before the Court shows that

Plaintiff is not entitled to summary judgment. Plaintiff’s claims are barred by Heck, and the

summary judgment record shows that the Plaintiff has failed to exhaust administrative remedies

as required by Louisiana law. As such, Plaintiff’s Motion for Summary Judgment should be denied.

                                                   Respectfully submitted,

                                                   JEFF LANDRY
                                                   ATTORNEY GENERAL

                                             BY:   /s/ James G. Evans
                                                   James G. Evans
                                                   LSBA #35122
                                                   Assistant Attorney General
                                                   Louisiana Department of Justice
                                                   Litigation Division, Civil Rights Section
                                                   1885 North Third Street, 4th Floor
                                                   Post Office Box 94005 (70804-9005)
                                                   Baton Rouge, Louisiana 70802
                                                   Telephone:     225-326-6300
                                                   Facsimile:     225-326-6495
                                                   E-mail:        evansj@ag.louisiana.gov




14
     Louisiana Revised Statute §15:1184(A)(2).

                                                      5
          Case 3:18-cv-00736-JWD-EWD             Document 21       05/22/19 Page 6 of 6



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 22nd day of May, 2019, the foregoing was filed

electronically with the Clerk of Court by using the CM/ECF system. Notice of this filing will be

sent to all parties who participate in electronic filing by operation of the court’s electronic filing

system.

                                             /s/ James G. Evans
                                               James G. Evans




                                                  6
